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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CR-20407-RKA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  FAUSTO P. CASTILLO,

         Defendant.
                                         /

                               FAUSTO P. CASTILLO’S UNOPPOSED
                             MOTION FOR COMPASSIONATE RELEASE

         The Defendant, FAUSTO P. CASTILLO (“CASTILLO”), by and through undersigned

  counsel, respectfully requests this Court grant him compassionate release pursuant to 18 U.S.C. §

  3582(c)(1)(A) to modify his sentence to time served.

         To the best of undersigned counsel’s understanding, CASTILLO has satisfied the

  statutory requirement in § 3582(c)(1)(A). BOP has denied CASTILLO’s request for

  Compassionate Release and therefore, the Court has jurisdiction over this instant motion.

         On August 21, 2023, CASTILLO surrendered at FCI Miami to commence a 13-month

  sentence.

         CASTILLO is an 82-year-old man with an extensive history of medical issues. Due to his

  medical condition, he requires an extensive list of prescribed medications (See Paragraph 90 of

  the PSR attached). Pre-incarceration, despite his extensive medical complications, CASTILLO

  self-described his health as “fair” (See Paragraph 88 of the PSR attached).

         Post incarceration CASTILLO’s health has gravely deteriorated.
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         Despite providing a list of medications that he must take, the medical facility at FCI

  Miami is wholly inadequate. One of the ailments that CASTILLO suffers from is Chronic

  Obstructive Pulmonary Disease (COPD), which refers to a group of diseases that cause airflow

  blockage and breathing-related problems. It includes emphysema and chronic bronchitis. COPD

  makes breathing difficult for the 16 million Americans who have this disease (See Paragraphs

  87-90 of the PSR attached).

         FCI Miami did not have the appropriate inhaler to treat this condition despite being put

  on notice. Therefore, in September 2023, CASTILLO was hospitalized twice for pneumonia and

  breathing problems. The first admission was to Jackson South. The second time CASTILLO

  passed out in the shower, and he was taken to Larkin Hospital. He spent a total of 9 days in the

  hospital before returning to FCI Miami.

         In January 2024, CASTILLO’s arthritis flared up in his hips. He was in great pain and

  unable to walk. With the help of other inmates, they put him in a wheelchair and took him to

  medical. Medical was unable to treat or provide medication for relief. Medical wheeled him

  back to his bed where he remained in pain and immobile for several days.

         On January 17, 2024, Castillo developed pneumonia again and he was unable to get out

  of bed. Medical was unable to treat him at FCI. Fellow inmates brought Castillo’s dire

  condition to other staff at FCI and he was finally taken to Jackson South on January 20, 2024,

  where, as the filing of this motion, he remains with a diagnosis of pneumonia.

         Undersigned counsel has conferred with Assistant United States Attorney Lindsey

  Lazopoulos Friedman who has no objection to this motion.
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         WHEREFORE, the Defendant, FAUSTO CASTILLO, respectfully requests this

  Honorable Court grant this motion for compassionate release pursuant to 18 U.S.C. §

  3582(c)(1)(A) to modify his sentence to time served.


                                                     Respectfully submitted,

                                                     /s/ Joseph S. Rosenbaum
                                                     Joseph S. Rosenbaum, Esquire
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 23rd day of January, 2024, the undersigned electronically
  filed the foregoing document with the Clerk of the Court using CM/ECF.

                                                     /s/ Joseph S. Rosenbaum
                                                     Joseph S. Rosenbaum, Esquire
                                                     Florida Bar No. 240206
